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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

------------------------------------------------X
Kyle Donovan,
         Plaintiff,
                                                                       COMPLAINT
V.

East Twelfth Street Tenants Housing 
Development Fund Corporation
------------------------------------------------X

          Plaintiff Kyle Donovan, by and through his attorneys, Jones Law Firm, P.C. hereby

alleges the following:

          1.      Pursuant to 42 U.S.C. § 1983, Plaintiff alleges Defendant East Twelfth Street

Tenants Housing Development Fund Corporation (“Defendant”) violated the Fourteenth

Amendment to the United States Constitution. As detailed below, Defendant, a state actor,

refused to consider Plaintiff’s purchase of unit after Plaintiff entered into a contract to purchase a

unit at 527 East 12th Street, New York, NY (the “Unit”) along with the accompanying 250 shares

in the corporation. Plaintiff hereby asserts that Defendant acted (1) in an arbitrary and capricious

manner or, in the alternative, (2) on the basis of Plaintiff’s race in violation of the Fourteenth

Amendments.

                                     JURISDICTION AND VENUE

          2.      28 U.S.C. § 1983 and 28 U.S.C. §§ 1331 and 1343 confer jurisdiction on this

Court. 

          3.      Venue is proper in the District Court for Southern District of New York under 28 




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U.S.C. § 1391 as a substantial part of the events or omissions giving rise to Plaintiff’s claim 

occurred in this District.

        4.      This Court has authority to award attorneys' fees pursuant to 42 U.S.C. § 1988.

                                             PARTIES

        5.      Plaintiff is an African-American male who entered into a contract to purchase a

unit at 527 East 12th Street, New York, NY (the “Unit”).

        6.      Defendant is East Twelfth Street Tenants Housing Development Fund

Corporation.

        7.      Non-party Iris Maasdamme (“Seller”) is the owner of the Unit and the

accompanying 250 shares of Defendant East Twelfth Street Tenants Housing Development Fund

Corporation.

                                      FACTUAL ALLEGATIONS

        7.      Defendant is a Housing Development Fund Corporation (“HDFC”).

        8.      An HDFC is a not-for-profit housing cooperative corporation under General

Business Law § 352-eeee and Private Housing Finance Law Article XI, a status that creates a

statutory exemption from the Rent Stabilization Law (Administrative Code of City of New York

§ 26-504 [a]; Rent Stabilization Code § 2520.11 [j], [l]).

        8.      HDFCs are a form of co-op housing intended for low- and moderate-income New

Yorkers.

        9.      Many HDFCs date to the 1970s, when the city took over derelict buildings and

then allowed tenants to buy them for a nominal fee and run them as co-ops.




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        10.    The City of New York’s Department of Housing Preservation and Development’s

(“HPD”) does not sell properties to an HDFC at market price but instead at $250 per apartment.

        11.    In exchange for accepting income restrictions on shareholders for the duration of

a regulatory agreement with HPD, the City offers the coop, among other benefits, a partial

reduction in property taxes.

        12.    The government is so entwined with the creation and maintenance of HDFCs such

that HDFCs are state actors and restricted as such by the Constitution of the United States

including the prohibitions against conduct that is arbitrary and capricious or on the basis of

invidious race discrimination.

        13.    Plaintiff and Seller agreed for Plaintiff to purchase and Seller to sell the Unit for

$300,000. Plaintiff agreed to pay for the Unit with all cash.

        14.    A true and accurate copy of this contract, executed on May 11, 2018, is attached

as Exhibit 1 to this Complaint.

        15.    Plaintiff's income satisfied the income restrictions for the purchase of a unit in this

HDFC.

        16.    On June 9, 2018, Donovan submitted a finalized application to purchase 527 

East 12th Street #MW, New York, NY 10009.

        17.    Less than ten days later, the Board denied Plaintiff’s application without offering

a reason on June 18, 2018. The Board also declined to interview Plaintiff or otherwise consider

him.




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       18.     On July 5, 2018, counsel for Plaintiff sent a demand letter to the Board of the

HDFC requesting that the Board reverse its decision as the denial had been made without any

state reason or inquiry.

       19.     Plaintiff’s broker was subsequently told that the Board did not like what it “saw”

when it ran a search of Plaintiff’s name on www.google.com

       20.     When a search for Plaintiff’s name is done on Google, images of Plaintiff show

him to be an African-American man.

       21.     After the denial of Plaintiff’s application, the Unit continued to be listed for sale.

       22.     The Board has entirely failed to present to Plaintiff a nondiscriminatory reason, or

indeed any reason, for refusing to consider Plaintiff’s application.

                                          FIRST CLAIM

       23.     The Fourteenth Amendment to the United States Constitution prohibits

government actors from acting in an arbitrary and capricious manner.

       24.     Defendant’s denial of Plaintiff’s application without interviewing him or

otherwise giving any due consideration to his application based on what was seen from a Google

search, and otherwise not providing any stated reason for the refusal to consider his purchase of

the Unit, is arbitrary and capricious.

       25.     Plaintiff has been damaged by Defendant’s conduct and will be irrevocably

damaged unless this Court enters an injunction, including a temporary restraining order,

prohibiting the sale of the Unit to a purchaser other than Plaintiff.




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                                         SECOND CLAIM

        26.     The Fourteenth Amendment to the United States Constitution prohibits

government actors from acting on the basis of race unless such action can survive the strictest

scrutiny.

        27.     Defendant’s denial of Plaintiff’s application without even interviewing him or

otherwise considering his application based on what was seen from a Google search, including

images that clearly show him to be an African-American man, and otherwise not providing any

stated reason for the refusal to consider his purchase of the Unit, and then keeping the Unit open

for sale, establishes a prima facie case of invidious racial discrimination.

        28.     Defendant has refused to provide any nondiscriminatory reason for the refusal to

consider Plaintiff’s application.

        29.     Plaintiff has been damaged by Defendant’s conduct based on race and will be

irrevocably damaged unless this Court enters an injunction, including a temporary restraining

order, prohibiting the sale of the property to a purchaser other than Plaintiff.

                                       DEMAND FOR JURY

        30.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff demands a

jury trial on all issues so triable.

                                       PRAYER FOR RELIEF

        Wherefore, Plaintiff respectfully request that this Court:

        A.      Enter a declaratory judgment pursuant to 28 U.S. Code § 2201 that Defendant

violated the Constitution;




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       B.      Enjoin Defendant from acting in an arbitrary and capricious manner or acting on

the basis of invidious race discrimination in the sale of the Unit;

       C.      Award Plaintiff compensatory damages for the harm caused by Defendant’s

unlawful conduct;

       D.      Award Plaintiff reasonable fees, costs, and expenses, including attorneys’ fees,

pursuant to 28 U.S.C. § 1988; and 

       E       Award such additional relief as the interests of justice may require. 

DATED: July 31, 2018



                                                                           Respectfully Submitted,
                                                                                    /s/ Bryce Jones
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